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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 19-20567-CIV-ALTONAGA/Goodman

  BALMORE NATIVI,

             Plaintiff,
  v.

  ATLAS AIR, INC., et al.,

        Defendants.
  _______________________/

                                               ORDER

             THIS CAUSE came before the Court on Plaintiff, Balmore Nativi’s Motion to Take Case

  of [sic] Administrative Hold [ECF No. 27], filed July 10, 2019. On April 18, 2019, Defendant,

  Atlas Air, Inc. filed a Motion to Dismiss [ECF No. 24]. On May 1, 2019, Plaintiff filed a Motion

  for Extension [ECF No. 25], asking the Court for an extension of time to file a response due to

  medical reasons. (See id. 1–2). The same day the Court entered an Order [ECF No. 26] closing

  the case for statistical purposes only, stating “the case shall be restored to the active docket upon

  Count order following motion by Plaintiff, advising he and his attorney are prepared to proceed.”

  (Id. 1).

             Defendant’s Motion to Dismiss argued inter alia “the Complaint violates fundamental

  pleading standards as the Complaint’s claims for relief incorporate each preceding allegation,

  irrespective of whether such allegations are even relevant to each subsequent claim.” (Motion to

  Dismiss 2). Defendant is correct Plaintiff’s Complaint [ECF No. 1-2], filed in state court before

  the case was removed, is an impermissible “shotgun pleading” because it “incorporate[s] every

  antecedent allegation by reference into each subsequent claim for relief or affirmative defense.”

  Hickman v. Hickman, 563 F. App’x 742, 744 (11th Cir. 2014) (alteration in original) (quoting
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  Wagner v. First Horizon Pharm Corp., 464 F.3d 1273, 1279 (11th Cir. 2006)). Shotgun pleadings

  make it “virtually impossible to know which allegations of fact are intended to support which

  claim(s) for relief.” Anderson v. Dist. Bd. of Trs. of Cent. Fla. Cmty. College, 77 F.3d 364, 366

  (11th Cir. 1996). “When confronted with a shotgun pleading, the court is supposed to order

  repleading for a more definite statement of the claim.” Hickman, 563 F. App’x at 744 (citation

  omitted).

         Accordingly, it is

         ORDERED AND ADJUDGED as follows:

         1. Plaintiff’s Motion [ECF No. 27] is GRANTED. Plaintiff has until July 19, 2019 to

              file an amended complaint that specifies the factual allegations relevant to each count

              and does not run afoul of the Eleventh Circuit’s proscriptions against shotgun

              pleadings. To the extent Plaintiff realleges any fraud-based claims, such claims must

              comply with the heightened pleading standard under Federal Rule of Civil Procedure

              9(b).

         2. The parties shall prepare and file an amended joint scheduling report by July 22, 2019.

         DONE AND ORDERED in Miami, Florida, this 11th of July, 2019.



                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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